 1 STEPHANIE M. HINDS (CABN 154284)                                       FILED
   Acting United States Attorney
 2 SARA WINSLOW (DCBN 457643)
   Chief, Civil Division                                        Apr 23 2021
 3 ELIZABETH KURLAN (CABN 255869)
   Assistant United States Attorney                          SUSANY. SOONG
 4
          450 Golden Gate Avenue, Box 36055             CLERK, U.S. DISTRICT COURT
 5        San Francisco, California 94102-3495       NORTHERN DISTRICT OF CALIFORNIA
          Telephone: (415) 436-6925                           SAN FRANCISCO
 6        FAX: (415) 436-6748
          Elizabeth.Kurlan@usdoj.gov
 7
   Attorneys for Respondents
 8
                                   UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10
                                      SAN FRANCISCO DIVISION
11

12 HAO THOAI TRAN,
                                                         C 21-02800 TSH
13                           Petitioner,
                                                         STIPULATION REMANDING CASE TO
14 JOHN M. KRAMAR, in his Official Capacity,             UNITED STATES CITIZENSHIP AND
   District Director for San Francisco District          IMMIGRATION SERVICES, PURSUANT TO 8
15 Office, U.S. Citizenship and Immigration              U.S.C. § 1447(b) and [PROPOSED] ORDER
   Services, U.S. Department of Homeland
16
   Security, et al.,
17
                             Respondents.
18

19
        1. Petitioner commenced an action pursuant to 8 U.S.C. § 1447(b), requesting this Court to
20
     adjudicate his application for naturalization that was pending before the United States Citizenship and
21
     Immigration Services (“USCIS” or “the agency”) for more than 120 days after Petitioner had been
22
     interviewed.
23
        2. USCIS is now prepared to resolve this matter by adjudicating Petitioner’s application for
24
     naturalization. However, USCIS cannot adjudicate the application unless and until the Court remands
25
     the matter to the agency. See 8 U.S.C. § 1447(b) (explaining that the district court “may remand [a
26
     Section 1447(b) case], with appropriate instructions, to the [USCIS]”); United States v. Hovsepian, 359
27
     F.3d 1144, 1160 (9th Cir. 2004) (accord).
28
     Stipulation to Remand
     C 20-02800 TSH                                  1
 1      Accordingly, subject to the Court’s approval, IT IS HEREBY STIPULATED that:

 2      1. The Court shall remand this case to USCIS, 630 Sansome Street, 3rd Floor, San Francisco, CA

 3   94111, directing the agency to take any and all necessary actions, and to issue a decision on Petitioner’s

 4   application for naturalization within 30 days of the remand order. Based on the information now

 5   available to it, USCIS stipulates that, all else being equal, it intends to approve the application if no

 6   new or undisclosed disqualifying evidence is discovered. Petitioner acknowledges his burden to

 7   establish and maintain eligibility for naturalization up to the time he has taken the oath of allegiance.

 8      2. If USCIS does not issue a decision on Petitioner’s application for naturalization within the time

 9   frame set forth in paragraph 1 above, Respondents will not oppose any request by Petitioner to this

10   Court to vacate the remand order and thereby re-assert jurisdiction over Petitioner’s action pursuant to

11   8 U.S.C. § 1447(b).

12      3. Each of the parties shall bear their own costs and fees.

13 Dated: April 23, 2021                                    Respectfully submitted,
14                                                          STEPHANIE HINDS
                                                            Acting United States Attorney
15

16                                                                     /s/                __
                                                            ELIZABETH KURLAN
17                                                          Assistant United States Attorney
                                                            Attorneys for Respondents
18

19
     Dated: April 23, 2021
20                                                                  _/s/___
                                                            ZACHARY NIGHTINGALE
21                                                          Attorney for Petitioner

22

23
                                             [PROPOSED] ORDER
24
         Pursuant to stipulation, IT IS SO ORDERED.
25

26 Date:                                                    _______________________________
         April 23, 2021
                                                            THOMAS S. HIXSON
27                                                          United States Magistrate Court Judge
28
     Stipulation to Remand
     C 20-02800 TSH                                    2
